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UNITED STA'I`F.S I)ISTRICT COURT

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TAMPA mvlsloN

I(ELSEY MORTON,
P!aintiff,

v. CASE No.= ‘?;i 2, C-\/ 23 ‘t t/E-B 'i'(§\'~/`J

JI’MORGAN CHASE

BANK, N.A., VERIFIEI) COMI’LAINT FOR
UNLAWFUL COLLECTlON
l}efcndant. PRACTICES

.IURY TRIAL I)EMANDED

 

VF.RIFIE|) C()MPLAINT
Plaintift` Kelsc_v Morton, by and through undersigned eounsei. sues JPMorgan Chase
Bank, N.A.. and states as t`ollows:
PRELIMINARY STATEMENT
1. Plaintiii` brings this action pursuant to thc I"`lorida Consumcr Colleetion Practices

Act {“FCCPA"’), and the Telcphonc Consumcr Proteelion Act (“'|`C PA"). 4? U.S.C. § 227 et ser;.

JURISI)ICTI()N ANl) VENUE
2. Federnl subject matterjurisdielion exists pursuant to 28 U.S.C. § 133 l _. as PlaintiiT
brings, among other elaims, claims under the I`ederul '|`elephone Consumer Proleetion Act, 47
U.S.C. § 227 et .s'eq. Supplcrncnlal jurisdiction exists over the state law claims pursuant to 28

U.S.C. § 1367.

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3. Venue is proper in this district pursuant to 28 U.S.C. § l39l(a) because a
substantial part of the events or omissions giving rise to the claims and injuries occurred in the

Middle District of Florida.

PARTIES

4 P|aintiii` Kelsey Morton ("Ms. Morton") is a natural person resident in the City of
Tampa, County of Hillsborough, State of Florida, and is a “consumer,” as that term is defined by
15 U.S.C. § l692a(3), Fla. Stat. § 559.55(2), and a person under 47 U.S.C. § 227 el seq.

5. Defendant JPMorgan Chase Bank, N.A. (“Defendant” or “Chase”), does business
in the State of Florida, and is a “creditor" as that term is defined by Fla. Stat. § 559.55(3), as well
as a “person” under Fla. Stat. § 559.72 and 47 U.S.C. § 227 el seq.

6. The conduct of Defendant was authorized, approved and/or ratified by one or
more ofiicers, directors, or managers of Del`endant, and/or they knew in advance that the
Defendants were likely to conduct themselves and allowed them to so act with conscious
disregard of the rights and safety of` others. The agent(s) or employee(s) of Del`endants acted
within the course and scope of such agency or employment and acted with the consent,
permission and authorization of Defendants.

FACTUALALLEGAT[ONS

7. Ms. Morton owed a debt to Chase in the approximate amount of $22,000 (the
"Debt") before Ms. Morton became unable to pay that Debt.

8. On February 27, 2013, at 4:31 p.m., Chase called Ms. Morton's cell phone. Ms.
Morton informed Chase that she was going through a divorce and that she was unable to pay the

Debt. She also instructed Chase not to call her cell phone.

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9. On April 2, 2013, at 9:05 a.m., Chase again called Ms. Morton's cell phone,
despite being instructed not to call Ms. Morton's cell phone and despite being instructed that Ms.
Monon could not pay the Debt. Ms. Morton further informed Chase that if it called her cell
phone between 9:00 a.m. and 6:00 p.m., she risked losing her job because she uses her cell phone
for work.

lO. During that April 2, 2013 call, Ms. Morton again told Chase she could not pay the
Debt due to her divorce and other issues.

ll. On April 15, 2013, at ll:46 a.m., Chase called Ms. Morton's cell phone and left a
voicemai|, despite her instructions not to call her cell phone and despite Ms. Morton telling
Chase she could not pay the Debt.

12. On May l, 2013, at 7: 13 p.m., Chase again called Ms. Morton's cell phone despite
her instructions not to call her cell phone and despite Ms. Morton telling Chase she could not pay
the Debt. Ms. Morton also again explained that she was unable to pay the Debt. Ms. Morton
offered to pay $100 per month on the Debt; Chase refused to accept the payment and told Ms.
Morton she was not eligible for any hardship or deferment programs.

13. On May 14, 2013, at 5:13 p.m., Chase called Ms. Morton's cell phone and left a
voicemail, despite her instructions not to call her cell phone and despite Ms. Morton telling
Chase she could not pay the Debt.

14. On May 20, 2013, at 5:37 p.m., Chase called Ms. Morton's cell phone and left a
voicemail, despite her instructions not to call her cell phone and despite Ms. Morton telling

Chase she could not pay the Debt.

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l$. On May 22, 2013, at 5:12 p.m., Chase called Ms. Morton's cell phone despite her
instructions not to call her cell phone and despite Ms. Morton telling Chase she could not pay the
Debt.

l6. On June 3, 2013, Chase again called Ms. Morton's cell phone despite her
instructions not to call her cell phone and despite Ms. Morton telling Chase she could not pay the
Debt. Ms. Morton again informed Chase not to call her. Chase misrepresented the law by telling
Ms. Morton that she was required to send a letter within 10 days of her verbal request to stop
communication before Chase would actually stop communicating with her.

17. On June 4, 2013, Ms. Morton sent Chase a letter (the "Cease and Desist Letter")
"demanding that all communication from Chase stop immediately." Ms. Morton explained that
her demand included "letters, e-mails, and phone calls." That Cease and Desist Letter also
reiterates that Ms. Morton has told Chase on numerous occasions not to call her and that she
could not pay the Debt. A copy of the Cease and Desist Letter is attached as Exhibit "A".

18. Despite Ms. Morton's instruction, on June 14, 2013, Chase sent Ms. Morton a
letter explaining that "[t]or legal reasons, we are unable to cease all mailed correspondence."

19. The purpose of each call from Chase was to collect the Debt. After Ms. Morton
told Chase she could not pay the Debt, there was no legitimate business purpose to continuing to
call her and such calls were made only for purposes of harassment

20, Chase made at least ten (10) calls to Plaintiff's cell phone without Plaintiff‘s
consent using an automated dialer system. The list of calls from Chase alleged above is non-
exhaustive and does not include every attempt (successful or not) to communicate with Ms.

Morton by telephone.

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COUNTl
VIOLATION OF THE FCCPA BY DEFENDANT CHASE

21. This is an action against Defendant for violation of Fla. Stat. § 559.55 et seq.

22, Plaintiff re-alleges and incorporate paragraphs l through 20, as if fully set forth
herein.

23. Defendant is engaged in the business of soliciting consumer debts for collection
and collecting consumer debts and is a “person” under Fla. Stat. §559.72, and is therefore subject
to Fla. Stat. §559.55 et seq.

24. The Alleged Debt is a “consumer debt” as defined by Fla. Stat. § 559.55(1)
because it is for primarily personal, family, or household purposes

25. Defendant communicated certain information to Plaintifi` as set forth above,
which constitutes “communication,” as defined by Fla. Stat. § 559.55(5).

26. 'I`hrough the conduct described in paragraphs 7 - 12 above, Defendant violated the
following provisions of the FCCPA:

27, Fla. Stat. § 559.72 provides, in pertinent part:

In collecting consumer debts, no person shall:

(7) Willf`ully communicate with the debtor or any member of her or his family
with such frequency as can reasonably be expected to harass the debtor or her or
his family, or willfully engage in other conduct which can reasonably be expected
to abuse or harass the debtor or any member of her or his fami|y.

(9) . . . assert the existence of some other legal right when such person knows that
the right does not exist

28. Defendant violated the above sections of the FCCPA when Defendant: (l)

willfully abused Plaintiff by repeatedly violating Plaintiff‘s instructions not call her before 6:00

p.m., which created a risk that Plaintiff could get fired fi'om her job based on Defendant's

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repeated telephone calls; (2) willfully abused Plaintiff by repeatedly calling her afier she
explained she could not pay the Debt, when there was no legitimate reason to continue calling
Plaintiff except for purposes of harassment; (3) willfully abused Plaintiff by misrepresenting the
law by stating Plaintiff was required to send a letter within a certain time period to have
Defendant cease communications; (4) willfully abused Plaintiff by misrepresenting the law by
stating that it was required by law to continue communicating with Plaintiff despite her
instructions to cease all communications; and (5) asserted the right to violate the TCPA by
making numerous collection calls to Plaintiff‘s cell phone without Plaintiff‘s express consent,
using an automated dialing system.

29. All conditions precedent to this action have occurred, have been satisfied or have
been waived.

30. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the
FCCPA, Chase is liable to Plaintiff for her actual damages, statutory damages, and reasonable
attomey’s fees and costs.

3l. Based upon the willful, intentional, knowing, malicious, repetitive and
continuous conduct of the Defendant as described herein, Plaintiff is also entitled to an award of
punitive damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against
Chase, finding that Chase violated the FCCPA, awarding Plaintiff actual damages, statutory
damages, punitive damages, attomeys’ fees and costs pursuant to Fla. Stat. § 559.77(2), and

awarding Plaintiff any and all such further relief as is deemed necessary and appropriate

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COUNT ll

VIOLATION OF THE TCPA BY DEFENDANT CHASE

32. This is an action against Defendant for violations of the TCPA, 47 U.S.C. § 227 el

seq.

33. Plaintiff re-alleges and reincorporates paragraphs l through 20, as if fully set forth

here-in.

34. Defendant, in the conduct of its business, used an automatic telephone dialing

system defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff.
35. Section 47 U.S.C. § 227(b)(l )(A)(iii) provides in pertinent part:
It shall be unlawful for any person within the United States --

(A) to make any call (other than a call made for emergency purposes or made with

the prior express consent of the called pany) using any automatic telephone
system or an artificial or prerecorded voice --

(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

36. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) when Defendant placed
numerous calls to Plaintifi‘s cell phone without Plaintif’f's express consent using an automatic

telephone dialing system.

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37. Defendant willfully, knowingly, and intentionally made multiple calls to Plaintiff's
cell phone phone utilizing an automatic telephone dialing system after Plaintiff told Defendant

that Defendant did not have permission to call Plaintiff‘s cell phone.

38. All conditions precedent to this action have occurred, have been satisfied or have

been waived.

39. As a result of the above violation of the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,

pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

40. Based upon the willful, knowingly, and intentional conduct of the Defendant as
described above, Plaintiff is also entitled to an increase in the amount of the award to treble the
damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §

227(b)(3).

WHEREFORE, Plaintiff respectfully request this Court enter a judgment against the
Defendant: (l) finding Defendant violated the TCPA; (2) awarding Plaintiff actual damages or
the amount of $500.00 in damages for each violation, whichever is greater; (3) finding Defendant
willfully, knowingly and intentionally violated the TCPA and increasing the damages award to
treble the amount of damages otherwise to be entered as a judgment; and (4) awarding Plaintiff

any and all such further relief as is deemed necessary and appropriate

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Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const.

amend. 7 and l"`ed. R. Civ. i’. 38.

Dated: September l(}, 2013 Respectl`ully Submitted,

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VERIFICATION OF COMPLAINT AND CER'I`IFIC.»\TION BY PLAIN'I`IFF,
', SF.Y M RT N

l, Kelsey i\-lorton. pursuant to 23 U.S.C. §l?-'l(). under penalties ol` perjury. state as
follo\vs:

l. l am a l’laintifi`in this civil proceeding

!-J

l have read the above entitled civil (_`omplaint prepared by my attorneys and l
believe that all of the facts contained in it are truc. to the best of my knowledge
information and belief formed after reasonable inquiry.

3. l believe that this civil Complaint is well grounded in fact and warranted by
existing law or by a good faith argument for the extension. modification or
reversal of existing law.

4. I believe that this civil Complaint is not interposed for any improper purpose.
such as to harass any Defendant(s). cause unnecessary delay to any Defendant(s).
or create a needless increase in the cost of litigation to any Defendant(s)_. named
in the Cornplaint.

5. I have filed this civil Comp|aint in good faith and solely for the purposes set forth
in it.

